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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                  8:17MJ434

      vs.
                                                                  ORDER
JAMES CHARLES FENTRESS-DISMUKE,

                    Defendant.

        The court, having granted Motion to Withdraw as Counsel (Filing No. 30), finds
that the above-named defendant is eligible for appointment of counsel pursuant to the
Criminal Justice Act, 18 U.S.C. §3006A, and Amended Criminal Justice Act Plan for the
District of Nebraska.

       IT IS ORDERED that Steven J. Lefler is appointed as attorney of record for the
above-named defendant in this matter and shall forthwith file an appearance in this
matter.

       IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall
forthwith provide counsel with a draft appointment order (CJA Form 20) bearing the
name and other identifying information of the CJA Panel attorney identified in
accordance with the Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to
the Federal Public Defender for the District of Nebraska and Steven J. Lefler.

      DATED this 8th day of December, 2017.

                                            BY THE COURT:

                                            s/ Michael D. Nelson
                                            United States Magistrate Judge
